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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

In re:                                                Chapter 13
                                                      Case Number 19-30757-EDK
Sarah A. Gagne                                        Honorable Elizabeth D. Katz

      Debtor
____________________________________/

     MOTION OF SELECT PORTFOLIO SERVICING, INC. FOR RELIEF FROM THE
                AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362

         Select Portfolio Servicing, Inc., a secured lien holder in the above captioned Chapter 13

proceeding, moves this court for an order, pursuant to 11 U.S.C. §362(d) and Rule 4001 of the

Rules of Bankruptcy Procedure for relief from the automatic stay of 11 U.S.C. §362(a) so that it

may foreclose a mortgage which it holds on real property known and numbered as 2140 Palmer

Road, Three Rivers, MA 01080 and commence a summary process action against occupants of

the Property. In support of its motion, Select Portfolio Servicing, Inc. states the following:

1.       On December 6, 2011, Regina Ann Gagne executed a note to Bank of America, N.A. in

the original principal amount of $95,000.00 (the “Note”). The Note was subsequently endorsed

in blank and transferred over to Movant (assignee).

2.       The Note is secured by a mortgage from Regina Ann Gagne to Mortgage Electronic

Registration Systems. Inc. dated December 6, 2011 and recorded with the Hampden County

Registry of Deeds at Book 19095, Page 42, subsequently assigned to Bank of America NA by

assignment dated January 22, 2014 and recorded in said Hampden County Registry of Deeds at

Book 20175, Page 261, subsequently assigned to Select Portfolio Servicing, Inc. by assignment

dated April 28, 2018 and recorded in said Hampden County Registry of Deeds at Book 22151,

Page 130. The Mortgage is a first mortgage on real property owned by the Debtor known and

numbered as 2140 Palmer Road, Three Rivers, MA 01080 (the “Property”).
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3.       The Property was subsequently transferred to Sarah A. Gagne by a QuitClaim Deed dated

May 24, 2019 and recorded in said Hampden County Registry of Deeds at Book 22688, Page

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4.       Select Portfolio Servicing, Inc. is the current holder of the Mortgage.

5.       Select Portfolio Servicing, Inc. is the current holder of the Note.

6.       The entity which has the right to foreclose is: Select Portfolio Servicing, Inc. by virtue of

being the holder and owner of the note.

7.       Sarah A. Gagne is an heir of Regina Ann Gagne.

8.       Upon information and belief, Regina Ann Gagne is deceased.

9.       Select Portfolio Servicing, Inc. services the loan on the Property referenced in this

Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the

Debtor(s) receive a discharge and a foreclosure action is commenced on the mortgaged property,

the foreclosure will be conducted in the name of Select Portfolio Servicing, Inc., which is the

entity that has the right to foreclose by virtue of being owner and holder of the note.

10.      On September 23, 2019, the Debtor filed a petition for relief under Chapter 13 of the

United States Bankruptcy Code.

11.      The Ch. 13 Plan has not yet been confirmed.

12.      As of November 27, 2019, the Note and the Mortgage are in post-petition default for the

October 1, 2019 payment and all subsequent payments in the net total amount $1,878.24.

13.      There is no other collateral securing the obligation.

14.      According to Debtor's Schedule A, the fair market value of the Property is $150,000.00.

Select Portfolio Servicing, Inc. estimates that the liquidation value of the Property is no greater

than $141,000.00, which is the market value minus 6% for the cost of sale.
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15.    According to Schedule C, the Debtor is claiming an exemption in the Property in the

amount of $125,000.00 pursuant to Massachusetts General Laws c. 188 § 1, 3.

16.    A Declaration of Homestead by Sarah A. Gagne is dated May 24, 2019 and recorded with

the Hampden County Registry of Deeds at Book 22688, Page 400.

17.    As of November 27, 2019, the total outstanding balance owed on the Note was

$104,330.67.

18.    Town of Palmer also has a lien on the property in the amount of $240.00.

19.    Webster Bank, N.A. also has a lien on the property in the amount of $15,289.89.

20.    As of November 27, 2019, the estimated amount of encumbrances on the Property is

$119,860.56.

21.    The Debtor’s arrearage at the time of filing totaled $23,743.78.

22.    Select Portfolio Servicing, Inc. is entitled to relief from the automatic stay for cause

pursuant to 11 U.S.C. §362(d)(1) because the Debtor has not made payments pursuant to the

Note and Mortgage.

       WHEREFORE, Select Portfolio Servicing, Inc. moves that the court enter an order granting

Select Portfolio Servicing, Inc. relief from the automatic stay pursuant to 11 U.S.C. §362(d) so that it,

and its successors and assigns, may exercise its rights pursuant to the Note and Mortgage in

accordance with applicable state and federal law, and may commence a summary process action

against occupants of the Property. Select Portfolio Servicing, Inc. moves that entry of the Order shall

be effective immediately upon entry, notwithstanding the provisions of FRBP 4001(a)(3).
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                                                  Select Portfolio Servicing, Inc.

                                                  By its attorneys,

Date: January 28, 2020
                                                  Respectfully Submitted,

                                                  /s/ Patrick J. Martin
                                                  Elizabeth M. Abood-Carroll, Esq. 569551
                                                  Jason J. Giguere, Esq. 667662
                                                  Matthew Dailey, Esq. 672242
                                                  Patrick J. Martin, Esq. 669534
                                                  Tatyana P. Tabachnik, Esq. 673236
                                                  Orlans PC
                                                  Attorneys for Select Portfolio Servicing, Inc.
                                                  PO Box 540540
                                                  Waltham, MA 02454
                                                  (781) 790-7800
                                                  Email: bankruptcyNE@orlans.com
                                                  File Number: 19-009144
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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS

 In re:                                              Chapter 13
                                                     Case Number 19-30757-EDK
 Sarah A. Gagne                                      Honorable Elizabeth D. Katz

       Debtor
 ____________________________________/

     ORDER RE: MOTION OF SELECT PORTFOLIO SERVICING, INC. FOR
     RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362

          Select Portfolio Servicing, Inc., by and through its attorneys, Orlans PC having

 filed for Relief From Stay regarding real property known and numbered as 2140 Palmer

 Road, Three Rivers, MA 01080 notice having been given and good cause appearing

 therefore, it is hereby ORDERED that the Motion of Select Portfolio Servicing, Inc. for

 Relief From Stay is allowed and Select Portfolio Servicing, Inc. is granted relief from the

 automatic stay pursuant to 11 U.S.C. §362(d) so that it, and its successors and assigns,

 may proceed to exercise its rights pursuant to the Note and Mortgage dated December 6,

 2011 and recorded with the Hampden County Registry of Deeds at Book 19095, Page 42

 in accordance with applicable state and federal law and to commence a summary process

 action against occupants of that property. Entry of this Order shall be effective

 immediately upon entry, notwithstanding the provisions of FRBP 4001(a)(3). This Order

 shall be binding and effective despite any conversion of this bankruptcy case to a case

 under any other chapter of Title 11 of the United States Bankruptcy Code.


          At ________________ this _____ day of __________________, 2020.


                                              _______________________________
                                              Honorable Elizabeth D. Katz
                                              U.S. BANKRUPTCY JUDGE
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

In re:                                              Chapter 13
                                                    Case Number 19-30757-EDK
Sarah A. Gagne                                      Honorable Elizabeth D. Katz

      Debtor
____________________________________/

                                  CERTIFICATE OF SERVICE

       I, Patrick J. Martin, Attorney of Orlans PC, do hereby certify that on January 28, 2020, I
caused to be served a copy of Motion For Relief From The Automatic Stay on the service list
below by first class mail, postage prepaid or other method specified on the list.

Date: January 28, 2020                               Respectfully Submitted,

                                                     /s/ Patrick J. Martin
                                                     Elizabeth M. Abood-Carroll, Esq. 569551
                                                     Jason J. Giguere, Esq. 667662
                                                     Matthew Dailey, Esq. 672242
                                                     Patrick J. Martin, Esq. 669534
                                                     Tatyana P. Tabachnik, Esq. 673236
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                                                     PO Box 540540
                                                     Waltham, MA 02454
                                                     (781) 790-7800
                                                     Email: bankruptcyNE@orlans.com
                                                     File Number: 19-009144
VIA US MAIL
Sarah A. Gagne
2140 Palmer Road
Three Rivers, MA 01080

Town of Palmer
Department 6520
P.O. Box 4110
Woburn, MA 01888

Webster Bank, N.A.
200 Executive Boulevard, SO-200
Southington, CT 06489

Palmer Town Clerk
4417 Main Street # 10
Palmer, MA 01069
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Palmer Town Clerk
4417 Main Street
Palmer, MA 01069


VIA ECF

Louis S. Robin, Esq. on behalf of Debtor

Richard King Esq., Assistant U.S. Trustee

Denise M Pappalardo Esq., Chapter 13 Trustee

Adam Lewis on behalf of Webster Bank, N.A.
